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Def'endont(s). )

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lei.\' form complaint is designed to help you, as a pro se plaintiff, stale your case in a clear
inanner. Plcase read the directions and the numbered paragraple carefully. .S'ome paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to “plaimiff" and “dqfendanl" are stored in the singular but will apply to more than one
plaintiff or defendant if that is the nature of the case.

l. Tliis is a claim for violation of plaintist civil rights as protected by the Constitution and
laws of the Un`\ted Statcs under 42 U.S.C. §§ 1983, 1985, and 1986.

2. The court has jurisdiction under 28 U.S.C. §§ 1343 and 1367.

3. Plaimift"s full name is MLQML_§Q&M£CL/

1 f there are additional plamtij;`fs,FIl in the above information as to the first-named plaintiff
and complete the information for each additional plaintiff on an extra sheet.

Case 2:12-cV-08256-.]FW-I\/|AN Document 1 Filed 09/25/12 Page 2 of 15 Page |D #:2

 

   

 

   

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4.

Defen<k\m,*P>Q/tq¥\. O¥ Utme,r~\Q.Qt ,is

(namc. badge number if knuwn)

l`:l an officer or official employed by

 

(department or agency ol` government)
Ol'

El an individual not employed by a governmental entity.

l f there are additional defendants, fill in the above information as to thejirSl-namcd
defendant and complete the information for each additional defendant on an extra sheel.

5.

Thc mttnicipality, township or county under whose authority defendant officer or official
acted is C,(~A l f pg r~ y\\ g . As to plaintiffs federal
constitutional claims, the municipality, township or county is a defendant only if

custom or policy allegations are made at paragraph 7 below.

 
   

Cln or abouth » ' -»'~; ;,`Q?QQQ_, at approximately /(| E a.m. [] p.m.

onth,dny, year)

plaintiff was present in the municipality (or unincorporated area) of [E: &
C.A//g£rn} 0 , in the County of A» A-

Statc ot` Illino`ts, at ft §§ ._S" Do n L u l f -l.>l’" »

(itlenti l y location as precisely as possible)

when defendant violated plaintiffs civil rights as follows (Place X in each box that l
applies): '

IIJ arrested or seized plaintiff without probable cause to believe that plaintiff had
committed, was committing or was about to commit a crime;

searched plaintiff or his property without a warrant and without reasonable causc;
used excessive force upon pluintitf;

failed to intervene to protect plaintiff from violation of plaintiFFs civil rights by
one or more other defendants;

failed to provide plaintiff with needed medical care;

conspired together to violate one or more of plaintift‘s civil t-iglirs;

Other:

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Case 2:12-cV-08256-.]FW-I\/|AN Document 1 Filed 09/25/12 Page 4 of 15 Page |D #:4

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9.

 

Defendant officer or official acted pursuant to a custom or policy ol defendant
municipality, county or township, which custom or policy is the t`ollowing: (Leave blank

if no custom or policy is alleged):

 

 

 

 

Plainliff was charged with one or more erimes, specifically

 

 

 

 

 

(I'lace an X in the box that applies. lf none applies, you may describe the criminal
proceedings under “Otlter”) The criminal proceedings

[_`l are still pending.
Ll were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.’
Cl Plaintiff was found guilty of one or more charges because defendant deprived me of a

fair trial as follows

 

 

l;l Ot.her:

 

 

‘<F.xamplcs of termination in favor of the plaintiff in a manner indicating plaintiff was innocent

may include n judgment ol` not guilty, reversal of a conviction on direct appeal, expungement ol` the
conviction, a voluntary dismissal (SOI_,) by the prosecutnr, or a nolle prosequi orde r.

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Case 2:12-cV-08256-.]FW-I\/|AN Document 1 Filed 09/25/12 Page 5 of 15 Page |D #:5

10. Plaimiff further alleges as follows: (Dcscribe what happened that you believe
supports your claims. Tn the extent p¢).\.v£blc, be specifc as to your own m lion s and

the aclimz.\ of each defendant )
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l,l, Defendant acted knowingly, intentionally, willfully and mallelously.
12. As a result of defendant’s conduct, plaintiff was injured as follows:

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.| 3. l’_laimif'f asks that the case be tried by z\ jury. Cl Yes R No

 

Case 2:12-cV-08256-.]FW-I\/|AN Document 1 Filed 09/25/12 Page 6 of 15 Page |D #:6

14. Piaintiff also claims violation ofriglus that may be p_rotecmcl by \l1e laws of"CH‘\:‘§`PD'/UAH 5 “c,¥\

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andr‘or-any other-claim th_af:ma_yf bcsupported by the allegations of this complaint.
WHEREFORE_, plainti[f~asks for the-fonowing relief
A. Damages..to compensate for all bodily harm,-emotional har'n'r,. pain and suffering

loss. of income, loss of enjoyment of life;,_ property damage,:and.any othcrinjur'ies

‘ \""" ' §§§i&€ed`b§`aé§éiia%nL§ "" " ` " ` d

R. Cl (Place_X in :box-zj`you-are- seeki‘izgpzmitivé_=damagés‘.) Pun{tive damages

against the individual defendant; and

C` Such injunctiva-,_ declaratory., or other relie't"a's. may be--appropriate, including

attorney s fees and reasonable e:gzs:::mized by 4231988.
Plaintiff"s signature w

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plaintiff An additional signature`page. may be added;

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On or about March, 2009, Plaintiff contacted Bank of America explaining that she had been having
financial difficulties for the past year and Plaintiff explained to Defendant that she had exhausted her
savings to keep current on her mortgage. Plaintiff's March 15‘h' 2009 payment was the first payment
Plaintiff had missed since getting this loan and Plaintiff had never been late. Defendants took
information, financial and other information over the phone, and mailed out a packet that Plaintiff
completed and returned to them March 29th, 2009 by mail and fax. Over the next six months Plaintiff
made approximately 40 calls to defendants' and Plaintiff was able to talk to the same person or
department. So each call Plaintiff had to go over the same thing and give a new verbal update on her
financial situation even if it had only bee a few days. Plaintiff made two payments during this time that
totaled $7500.00, one was a full payment and the other was a partial payment.

During this time their response to Plaintiff calling was: ln process (dozens of times) still being worked on.
Plaintiff sent another message to work out department to get her an update, still no new paperwork or
even a letter, nothing. On August 9"‘, 2009 Plaintiff called and was told her account was still in review
and that Plaintiff should get something in the mail by August 27, 2009, and that Plaintiff didn’t have to
call back before then. Sept. 28, 2009 when Plaintiff called she was asked to enter her account number,
and when Plaintiff did it, it sent Plaintiff straight to the foreclosure department. Then defendants would
transfer her to the hope department. Then she learned that they did not have her fi|e, and then they
would transfer Plaintiff to another department to start all over again. Fina|ly after doing this a few times
and talking to a clerk named George and being told once again that they did not have her fi|e. Plaintiff
asked for a supervisor, Plaintiff got the run around and then defendant's transferred Plaintiff to the
making home affordable department. On Oct. 21, 2009 at 12:45 pm Plaintiff was out in the front of her
home and a woman walked up to Plaintiff and handed her a post card; (lmportant Notice an
independent property inspector visited your property on the date and time listed below. The purpose of
this visit was to determine the occupancy and the security conditions of your property etc., and for
Plaintiff to call the bank, which Plaintiff did and once again Plaintiff was told that her loan was up for
review.

On November 2, 2009 at 12:32 pm, Plaintiff called and got a voice recording stating that Plaintiff's loan
had been approved and had been assigned to a work out negotiator. Plaintiff was told she would hear
something by December 28, 2009; she did not need to call before then. Plaintiff called anyway on
November 21, 2009, and now Plaintist account was back in review and no one could say why. No one
knew why Plaintiff got the voice recording either. Defendants said someone would contact her about
this within a week. Plaintiff received no calls and no letters so on November 31, 2009 Plaintiff called
again and was told after the update of her information once again defendants should have an update for
Plaintiff by the end of the week. And defendants told Plaintiff to call back in a few days.

Starting in mid January, 2010 Plaintiff had some real hardships. Plaintiff learned that her brother who
she had given a kidney in 2004 was in the hospital for a minor surgery so they said, but he had stage four
cancer and there was no hope. Plaintiff talked to him and was on my way to see him when he stopped
talking so by the time Plaintiff got there he was l a veggie state. So all Plaintiff could do is hold his hand
and tell him what a good brother he was as he passed away. Then eight days later her 41 year old
nephew had a massive hard attack and passed away on his coach. Nine days later Plaintiff's cousin who

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had a minor fall hit her head and got a brain aneurysm and died. So before March first of 2010 Plaintiff
had lost three very close family members. Plaintiff called defendants; however her heart was not in it.
Plaintiff was still getting the run around about her account being in review. By this time Plaintiff had
been told twice by different Bank of America employees do not make any more payments because they
were going straight to interest and they were not helping her one bit and the partial payments Plaintiff
could make was no acceptable. ln October, 2009 Defendant's took over paying Plaintiff's home
insurance in December, 2009, and they also took over paying the property taxes. On May 5, 2010
Plaintiff call defendants and was told that her account was closed and Plaintiff asked for a supervisor
Tina Wright and she told her that my account was closed April 5"‘, 2010, and when Plaintiff asked her
why she said no reason was stated. She started Plaintiff a new file and she sent her out a new packet,
which Plaintiff filled out and sent back to them.

ln the evening of May 5"‘, 2010 Plaintiff received a call from the collection dept. at Bank of America and
they stated that Plaintiff was $76,075.03 past due in the last 16 months. Plaintiff had to explain to
defendants that she had a work out in process and Plaintiff asked for a supervisor and she was put on
hold for a long time. When someone got on the line she would not tell me her name only that she was in
charge, and that l owned the money and she did not care if she had to sale my house or not. After all
this the Plaintiff was also told that because Plaintiff was not delinquent when she first called them her
account was put on the back burner for a few months. Plaintiff was told that her account did not get
opened until Ju|y, 2009, Plaintiff was never able to talk to the same person twice. Plaintiff has had to talk
to every dept. Defendants continued to give Plaintiff the same run around about her account being in
review.

Robo-signer Fraud:
Promissory Estoppels:

Plaintiff alleges that on or about March and December, 2009, a representative of Defendant told
Plaintiff that they could modify her mortgage, but only if Plaintiff was in defau|t. The same
representative, Plaintiff alleges, then instructed Plaintiff to purposely stop making her mortgage
payments in order to qualify. Relying on that statement, Plaintiff ceased trying to make payments and
defaulted on her loan. Defendants’, however, did not restructure Plaintiffs' loan. After Plaintiff
defaulted on her loan, California law allowed Defendants' to foreclose on Plaintiffs' property once
Plaintiff had defaulted on the loan Cal.CivCode 2924. The doctrine of promissory estoppels makes a
promise binding under certain circumstances without consideration. ln the usual sense of something
bargained for and given in exchange. Under this doctrine a promissory is bound when she should
reasonably expect a substantial change of position, either by act or forbearance, in reliance on his
promise binding under, if injustice can be avoided only by its enforcement. The vital principle is that he
who by his language or conduct leads another to do what he would not otherwise have done shall not
subject such person to los or injury by disappointing the expectations upon which he acted. When a
party acts to its detriment in reliance on a promise, promissory estoppels affords that party a remedy,
even when the promissory received no consideration for its promise. ln this case, Plaintiff has alleged (a)
that defendants promised to modify Plaintiffs' loan if Plaintiff stopped making payments and

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that Plaintiff relied on defendants’ promise and therefore stopped making payments and entered
default, and(c) that defendants’ failed to modify Plaintiffs' loan as promised. Plaintiff has documents in
her passion to support this claim.

Robo-Signer Fraud:

On or about September 14,2011, the person who signed the Assignment of Deed of Trust that involved
a signature from Lorena Ma|aquias, who signed her name for MERS as an Assistant Secretary for MERS.
She was never voted in by the Board of Directors as an assistant secretary for MERS. Henceforth, the
assignment was phony, forged signature for MERS is a fraud and the so-called Assignment of Deed of
Trust is a nullity, void and invalid. Furthermore, MERS does not have any employees as stated in a
deposition of William C. Hultman. See attached exhibit (C) (Copy of deposition from William C.
Hultman).

Plaintiff alleges that defendants’ were negligent because defendants’ demanded mortgage payments
when they did not have the right to enforce that obligation. This allegedly caused Plaintiff to overpay in
interest, among other things. As a result of the ”reckless negligence, utter carelessness, and blatant
fraud of the defendants’, Plaintiff's chain of title has been rendered unmarketable and fatally defective.
Plaintiff alleges that defendants did not have the legal authority to demand payments from Plaintiff
because of an assignments’ invalidity. lf defendants were not a lender legally authorized to collect
payments from Plaintiff, the general rule shielding actual lenders from liability would not apply.

Defendants' violated the FDCPA by making various false representations in its attempt to collect on the
loan. The FDCPA’s definition of a debt collector does not include a mortgage servicer or an assignee of
the debt, where the debt was not in default at the time it was obtained by a servicing company. (citing
15 USC 1603(a)6(f). Further, Plaintiff argues that a foreclosure on a property based on a deed of trust
does not constitute collection of debt within the meaning of the FDCPA. Plaintiff argues that the
statute's definition of a debt collector does not include an entity attempting to collect a debt not in
default when the debt was obtained by that entity. Plaintiff point out, when does not allege that
foreclosure of the property constituted the violation; instead, she believes the demands of payment and
threats were unlawful. Further, any actions taken by defendant in pursuit of the actual foreclosure may
not be challenged as FDCPA violation, but Plaintiffs' may maintain any FDCPA claim based on alleged
actions by defendant in collecting a debt,

Plaintiff further alleges that defendant has engaged in unfair, unlawful, and fraudulent business
practices by executing misleading documents, executing without proper authority to do so, and
demanding payments for non~existent debt among other things.

Therefore, Plaintiff Adrianne Powe|l respectfully requests that this honorable court grant her any and all
relief that this court deem just and fair in the interest ofjustice.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Stephen V. Wilson and the assigned
discovery Magistrate Judge is J ay C. Gandhi.

The case number on all documents filed With the Court should read as follows:

CV12- 8256 SVW (JCGX)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

|'__] Western Division Southern Division |'_] Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to tile at the proper location will result in your documents being returned to you.

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR DlSCOVERY

Case 2:12-cv-08256-.]FW-l\/|AN Document 1 Filed 09/25/12 Page 13 of 15 Page |D #:13

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SUMMONS IN A CIVlL ACTION

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arc the Uni d S cs or a Unitcd States agcncy, or an officer or employee of the United Smtes described in F¢d. R. Civ.
P. 12 (a)(Z) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
the Fedeml Rules of Civil Procedure. The answer or motion must bc served on the plaintiff or plaintiffs anomey,

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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court

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